      Case 4:19-cv-01035 Document 16-1 Filed on 05/06/19 in TXSD Page 1 of 3



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MONICA ABBOUD,                           §
                                         §
                       Plaintitr:        §
                                         §
vs.                                      §
                                              Civil Action No. 4: 19-cv-01035
                                         §
HEALTH INSURANCE                         §
INNOVATIONS, INC.,                       §
                       Defendant.        §
                                         §

       DECLARATION OF CHRISTINE GILLIS IN SUPPORT OF DEFENDANT
        HEALTH INSURANCE INNOVATIONS, INC. 'S MOTION TO DISMISS

       Pursuant to 28 U.S.C. § 1746, I, Christine Gillis, declare as follows:

       1.      I am Senior Compliance Manager at Health Insurance Innovations, Inc. ("HII").

       2.      I have personal knowledge of the matters set forth in this Declaration and, if

called as a witness, I could and would testify competently thereto.

       3.      I have worked with HII since May 2013 and was appointed to my current position

in approximately October 2018.

       4.      HII is a developer, distributor, and virtual administrator of cloud-based individual

health and family insurance plans and supplemental products.

       5.      I am familiar with the lawsuit filed by Monica Abboud against HII in the District

Court for the Southern District of Texas, Case No. 4: l 9-cv-01035.

       6.      In my capacity as Senior Compliance Manager, I am knowledgeable about the

business practices and operations pertinent to the allegations in the Complaint filed in this

lawsuit.

       7.      HTI is a Delaware corporation that maintains its principal place of business at

15438 N. Florida Avenue, Suite 201, Tampa, Florida 33613.



                                        EXHIBIT A
     Case 4:19-cv-01035 Document 16-1 Filed on 05/06/19 in TXSD Page 2 of 3



         8.    In 2015, HII registered as a foreign corporation authorized to do business in the

state of Texas, and maintains a designated registered agent in the state of Texas to accept service

of process.

         9.    HII does not now nor has it ever maintained corporate offices in the state of

Texas.

         10.   Hll does not own any real property or maintain any bank account in the state of

Texas.

         11.   As an organization, HII has two hundred fifteen (215) employees, thirty-eight

(38) of which are located in the state of Texas and employed by American Service Insurance

Agency, LLC ("ASIA").

         12.   ASIA is a limited liability company formed under the laws of the state of Texas

and maintains its principal place of business in the state of Texas.

         13.   Health Plan Intermediaries Holdings, LLC ("HPIH") 1s a limited liability

company formed under the laws of the state of Delaware.

         14.   On August 8, 2014, HPIH acquired all of the issued and outstanding membership

interests in ASIA, which is now a wholly-owned subsidiary of HPIH.

         15.   ASIA is an entirely separate and distinct corporate entity from HPIH.

         16.   HPIH is a wholly-owned subsidiary of HII.

         17.   HPIH is an entirely separate and distinct corporate entity from Hll.

         18.   In 2018, HII's consolidated revenues were approximately $351,097,000, of which

approximately $707,541 is attributable to business in the state of Texas.
     Case 4:19-cv-01035 Document 16-1 Filed on 05/06/19 in TXSD Page 3 of 3




        19.    HII maintains an informative business website with the URL www.hiiquote.com.

This website is generally available worldwide, although it is not directed specifically to residents

of Texas and does not specifically solicit business from the state of Texas.

       20.     Hll has no physical infrastrncture or ability to initiate telephone calls from within

the state of Texas.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

        Executed this   a-tb day of May, 20 19, at Tampa, F lorida.
                        -                                 ~             la~
                                                                 Christine Gillis
